                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
A case management conference was scheduled at 3:30 p.m. on February 24, 2011, to consider Plaintiff's appeal. On February 12, 2011, the court sent notice of the scheduled case management conference to Plaintiff at 1836 Hardcastle Avenue, Woodburn, Oregon, 97071, which is the address Plaintiff provided to the court. The notice was not returned as undeliverable. The notice advised that if Plaintiff did not appear, the court might dismiss the appeal.
On February 24, 2011, the court sent Plaintiff a letter which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiff did not provide a written explanation by March 10, 2011, for her failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not submitted a written response to the court explaining her failure to appear at the February 24, 2011, case management conference. Under such circumstances, the court finds the appeal must be dismissed for lack of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this ___ day of March 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Magistrate Dan Robinsonon March 18, 2011. The Court filed and entered this documenton March 18, 2011. *Page 1 